Case 3:23-cv-00577-BJD-JBT Document3 Filed 05/16/23 Page 1 of 2 PagelD 25

AQ 440 (Rev. 06/12) Summons ina Civil Action £
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’ » MISTY L. SIVIFT

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Plaimifiis) :
ve. Civil Action No. 3:23-cv-00577-BJD-JBT

THE LAW FIRM OF DEREK WILLIAMS, LLC dib/a-
INFINITE LAW GROUP

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Defendant(s}
SUMMONS IN A CIVIL ACTION , .
To: (Defendant's same tnd address} THE LAW FIRM OF DEREK WILLIAMS, LLC

d/o/a INFINITE LAW GROUP . 8
cio REGISTERED AGENT

C T CORPORATION SYSTEM ,
1200 SOUTH FINE ISLAND ROAD
PLANTATION, FL 33324 .
a
A lawsuit has been filed against you,

Within 21 days aller service of this summons on you (not counting the day you received it) — or 60 days if you

21 day you ( g yy ys if}
are the United States or a United States agency, or an officer or employee of the United States described in Fed BR. Civ,
Pel (22) or (3) —- you must serve on the plaintiff'an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Alexander J. Taylor

Sulaiman Law Group, LTD.
2500 South Highland Avenue Suite 200 .
Lombard, Hlinois 60748 ®
a
if you fail to respond, judgment by default will be entered against you for the relief gemanded in the complaint.
You aiso must file your answer or motion with the court.
a

CLERK OF COURT *:

. May 16, 2023
Date: so

Signature of Clerk or Deputy Clerk

VERIFIED RETURN OF SERVICE

Clientinfo: *

Paul Panklewicz - R.O.5. Consulting, Inc.
5083 Main Street, Suite 5C
Spring Hil, TN 37174

»

Case Info: f
PLAINTIFF: UNITED STATES DISTRICT COURT
MISTY L. SWIFT .

“Versus Court Case # 3:23-cw-00577-BID-J8T
DEFENDANT: ,

THE LAW FIRM OF DEREK WILLIAMS, LLC d/b/a INFINITE LAW
GROUP

Service Info:

a
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Recelved by Mikhael Goldgisser: on May, 24th 2023 at 02:46 PM

Service: | Served THE LAW FIRM OF DEREK WILLIAMS, LLC d/b/a INFINITE LAW GROUP c/o REGISTERED AGENT CT

CORPORATION SYSTEM

With: SUMMONS IN A CIVIL ACTION, PROOF OF SERVICE, COMPLAINT, CERTIFICATE OF SERVICE
by leaving with Donna Moch, EMPLOYEE-AUTTHORIZED TO ACCEPT

At Business 1200 SOUTH PINE ISLAND ROAD PLANTATION, FL 33324 .

Latitude: 26.106837, Longitude: -80.251227

On 5/25/2023 at 11:58 AM
Manner of Service: CORPORATE R/A

F.S. 48.091(4)(2) CORPORATIONS: DESIGNATION OF REGISTERED AGENT

Served Description: (Approx) .

Age: 45, Sex: Female, Race: White-Caucasian, Height: 5' 7", Weight: 145. Hair: Brown Glasses: No

1 Mikhael Goldgisser acknowledge that I am 18 years or older, authorized to serve process, in good standing in the jurisdiction
wherein the process was served, and I have no interest in the above action. Under penalties of perjury, I declare that I have read the

foregoing document and that the facts stated in it are true.

Mikhael Goldgisser
Lic # 2556

Paul Pankiewicz ~ R.O.S. Consulting, Inc.

5083 Main Street, Suite 5C
Spring HIE, TN 37174

Cient 2 SWIFT V. THE LAW FIRM OF DEREK
WILLTAMS
Job # MIA9385

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